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13
                                 UNITED STATES DISTRICT COURT
14
                                CENTRAL DISTRICT OF CALIFORNIA
15
16
     UNITED STATES OF AMERICA,                         Case No. 2:23-cr-00599-MCS
17
                   Plaintiff,                          Hon. Mark C. Scarsi
18
          vs.                                          DEFENDANT’S NOTICE OF MOTION
19                                                     AND MOTION TO DISMISS COUNTS 1
     ROBERT HUNTER BIDEN                               – 4 FOR IMPROPER VENUE
20
                   Defendant.
21                                                     Date: March 27, 2024
                                                       Time: 1:00 PM
22                                                     Place: Courtroom 7C
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                DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS COUNTS 1 – 4 FOR IMPROPER VENUE
                                          CASE NO. 2:23-CR-00599-MCS-1
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 1                  NOTICE OF MOTION AND MOTION TO DISMISS
 2 TO: SPECIAL COUNSEL DAVID WEISS, PRINCIPAL SENIOR ASSISTANT
 3 SPECIAL COUNSEL LEO J. WISE, SENIOR ASSISTANT SPECIAL COUNSEL
 4 DEREK E. HINES
 5        PLEASE TAKE NOTICE that on March 27, 2024, at 1:00 p.m., or as soon
 6 thereafter as the matter may be heard, in the courtroom of Honorable Mark C. Scarsi,
 7 Defendant Robert Hunter Biden, by and through his attorneys of record, will, and hereby
 8 does, respectfully move this Court for an order dismissing Counts 1-4 of the Indictment
 9 for improper venue. Dismissal is warranted because venue is proper in the district where
10 the charged offenses are alleged to have occurred, and the Indictment alleges the offenses
11 charged in Counts 1-4 were completed before Mr. Biden moved to California when he
12 lived in Washington D.C.
13        Mr. Biden’s motion is based on Federal Rules of Criminal Procedure 7(c) and 18,
14 this Notice of Motion and Motion, the attached Memorandum of Points and Authorities,
15 the pleadings, papers, and documents on file with the Court, the oral arguments of
16 counsel, and such other matters as the Court may deem proper to consider.
17
     Dated: February 20, 2024                   Respectfully submitted,
18
                                                WINSTON & STRAWN LLP
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20
                                                By: /s/ Angela M. Machala
21                                                 Angela Machala
                                                   Abbe David Lowell
22                                                 Christopher D. Man
23                                                   Attorneys for Robert Hunter Biden
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              DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS COUNTS 1 – 4 FOR IMPROPER VENUE
                                        CASE NO. 2:23-CR-00599-MCS-1
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2                                           INTRODUCTION
 3           Counts 1-4 must be dismissed for improper venue. DOJ’s Criminal Tax Manual
 4 (CTM) acknowledges Mr. Biden’s “right to be tried in the district where the offense took
 5 place.” CTM Section 10.06[5] (2024); see also United States v. Cabrales, 524 U.S. 1, 6–
 6 7 (1998) (discussing the locus delicti of a crime); Fed. R. Crim. P. 18. As discussed in a
 7 contemporaneously filed motion, (1) failure to pay violations are completed and the statute
 8 of limitations (SOL) begins to run from the first alleged instance of willful failure to pay
 9 on or after the April deadline and (2) failure to file claims are completed and the SOL
10 begins to run from the last filing deadline (including any extensions). See Motion to
11 Dismiss Count I As Untimely Or, In the Alternative, For Failure To State A Claim And
12 Lack of Specificity (SOL Motion) at 5-6; id. at 1, n.2; CTM Section 7.02[2]; id. Section
13 10.06[6]. Counts 1-4 all allege failure to pay or file claims that the Indictment alleges
14 accrued before Mr. Biden moved to California in summer of 2019, and California is thus
15 an improper venue for those charges.1
16           With respect to failure to pay claims (Counts 1, 2, and 4), the CTM explains “a
17 person required to pay a tax must pay the tax at the place fixed for filing the return” and
18 “[v]enue would therefore normally be in the district in which the return was filed.” CTM
19 Section 10.06[5] (2024). That is because if the return is not filed on time, the prosecution
20 “normally would [charge] failure to file rather than a failure to pay.” Id. Counts 1, 2, and
21 4 allege Mr. Biden failed to file his returns on time, yet the prosecution nevertheless
22 proceeded with failure to pay charges. More specifically, Count 1 alleges Mr. Biden
23 willfully failed to pay his 2016 taxes by April 18, 2017, Count 2 alleges Mr. Biden
24
     1
25        In fact, during the proceedings in Delaware on July 26, 2023, the prosecution
         acknowledged that venue in Delaware had to be waived for a plea to the 2017 and 2018
26       charges because it was aware Mr. Biden resided in Washington D.C. at that time.
         (07/26/2023 Hr. Tr. at 46, 60.) Moreover, DOJ approached D.C. U.S. Attorney Matthew
27       Graves about partnering in D.C. on prosecuting these charges (although his Office
         declined after reviewing the merits of the claims). See Biden-Picked LA US Attorney
28       Claimed He Was Too ‘Resource-Strapped’ To Charge Hunter, N.Y. Post (Oct. 26, 2023),
         https://nypost.com/.
                                                        1
                 DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS COUNTS 1-4 FOR IMPROPER VENUE
                                           CASE NO. 2:23-CR-00599-MCS-1
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 1 willfully failed to pay his 2017 taxes by April 17, 2018, and Count 4 alleges Mr. Biden
 2 willfully failed to pay his 2018 taxes on April 15, 2019.
 3        The CTM explains that, for failure to file claims, the district “in which the taxpayer
 4 was required to file a return for the year at issue” is where “the crime was committed.”
 5 CTM Section 10.05[7] (2024). For individuals, tax returns must be filed in the district in
 6 which the taxpayer lives. Id. Count 3 of the Indictment alleges Mr. Biden failed to file
 7 his 2017 returns by the extended deadline of October 15, 2018.
 8        As noted, Mr. Biden moved to California in the summer of 2019, which the
 9 prosecution knows. Because the Indictment alleges Counts 1-4 occurred before then when
10 Mr. Biden was living outside of California and was required to file and pay his taxes
11 outside of California, venue is not proper in California for those charges, and they must
12 be dismissed from the Indictment pursuant to Federal Rule of Criminal Procedure 18.
13                                          CONCLUSION
14        For the foregoing reasons, Mr. Biden respectfully requests that the Court dismiss
15 Counts 1-4 of the Indictment for improper venue.
16 Dated: February 20, 2024                   Respectfully submitted,
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